                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

                           CRIMINAL MINUTES - GENERAL MINUTES

Case Nos.:                                                                          Date: 6/7/19
4:18CR11 USA v. Marcus Jay Davis, et al
and
4:18CR12 USA v. Dashawn Romeer Anthony, et al


4:18CR11

-001 Marcus Jay Davis – Tony Anderson, Bev Davis
-002 Kevin Lamont Trent – Aaron Cook, Jimmy Turk
-003 Kanas Lamont’e Trent – Bonnie Lepold, Mike Hemenway
-004 Deshaun Lamar Trent – Chris Kowalczuk, Patrick Kenney
-005 Phillip Daekwon Miles – Tyson Daniel. Carey Bowen
-006 Shabba Larun Chandler – Aaron Houchens, Jeff Dorsey
-008 Ashley Tiana Ross – Terry Grimes
-010 Tenikqua A. Fuller - Correy Diviney

4:18CR12

-003 Tredarius Jameriquan Keene – Barry Proctor
-004 Montez Lamar Allen – Neil Horn
-005 Javontay Jacquis Holland – Jacqueline Reiner, Tom Bondurant, Jennifer DeGraw
-008 Jalen Cormarrius Terry – Paul Beers


PRESENT:        JUDGE:                   Michael F. Urbanski, CUSDJ
                TIME IN COURT:           12:16- 2:41; 2:56-3:47 3 hours and 16 minutes
                Deputy Clerk:            Kristin Ayersman
                Court Reporter:          Mary Butenshoen
                U. S. Attorney:          Matt Miller, Laura Rottenborn, Heather Carlton, Ron Huber
                USPO:                    Mike Terry
                Case Agent:              none
                Interpreter:             none


PROCEEDINGS:
Pretrial Motions/Conference
All parties present with counsel in Roanoke today for hearing; Danville cases.
Court notes traffic on 81 has caused delay in travel for some people – Mr. Bondurant notes Ms. Reiner
will be here in 20 mins – court going forward with hearing.
Court notes Simms decided, has read all briefs – addresses motions before the court.
Court grants govt’s motions to dismiss counts re 924c motions, counts associated with assault as stated on
record in both cases are dismissed.
Other 924c counts - question of how to define murder.
Responses from counsel:
4:18CR11-004 Dashaun Lamar Trent – Chris Kowalczuk.
4:18CR11-002 Kevin Lamont Trent – Aaron Cook.
4:18CR12-008 – Jalen Cormarrius Terry – Paul Beers.
US responds.
Response to US argument by Mr. Kowalczuk and joins Mr. Beers argument.
Mr. Cook as additional observation/response.
Final response from US on these arguments.
Court asks Mr. Beers to address VICAR counts related to assault – and should they be dismissed.
Mr. Cook addresses same issue.
Mr. Kowalczuk adopts arguments of Mr. Beers/Mr. Cook.
US responds.
Mr. Beers has response to US argument.
Mr. Cook responds.
Mr. Kowalczuk responds re misdemeanor.
US responds – Mr. Kowalczuk w/d’s his argument, read statute incorrectly. Responds to Mr. Beers
argument.
4:8CR12-005 Javontay Jacquis Holland/Ms. Reiner addresses issue – joins in all arguments already
presented, but addresses Ct 14 for her client and Mr. Allen – should be dismissed.
Mr. Beers has further comment.
Court asks for any further argument.
Ms. Reiner addresses her motions.
US responds. Ms. Reiner responds.
Court asks for any further argument on anything that has been raised – none. Court will issue opinions.
Court has read recent update from Mr. Aoki re discovery.
Court has also read pleadings re questionnaire.
Mr. Kowalczuk addresses the certified business records that the US has been filing – asking for specific
location of documents.
US (Heather Carlton) addresses – will be filing exhibit list next week which should clarify that for
defense counsel. All exhibits will be electronic, no paper to be used in trial. US will not list entire exhibit,
just excerpt being used. Court will address any issues defense counsel may raise after exhibit list
provided.
Court notes electronic exhibit software may not be available by the time this trial occurs.
US will provide a hard drive to the clerk with all exhibits on it at the end of every day and will put only
those exhibits used on that hard drive. US responds re the business records. US states witness list will
name names, and exhibit lists will also give identification – US moves to treat these lists under the terms
of the discovery order. Court asks if there are any objections to that from dfts – copies cannot be shared
and would not be filed with the court.
Court addresses parties re the trial – feels strongly that this case should be tried in four weeks, states
reasons on record. Court doesn’t want cumulative testimony/cross examination – will not allow it. Court
notes EDVA gang case recently tried with more defendants in less time that this court’s 2017 trial. Parties
must marshal evidence. US notes that witnesses could be streamlined if defense counsel would stipulate.
Court has also considered not holding court on Friday for comfort of jurors, which will further reduce
time in court. US asks if voir dire will or will not be included in government’s time – no.
Mr. Kowalczuk states he has not been approached about stipulations – US states it has addressed
stipulations with defense. Court willing to set a ddl on stipulations if parties want one.
4:18CR11-001 Marcus Jay Davis - Tony Anderson addresses time factor and stipulation of exhibits.
4:18CR11-003 Kanas L Trent - Bonnie Lepold – re their ext of time to provide alibi notice. Asking for 90
days/July 1 ddl re alibi notice re 6/15/2016 shooting.
US (Ron Huber) responds – delays impact ddls, and if court inclined to grant cont, please allow US same
amount of time to responds to it. US responds to three other alibi issues – asks for direction from court to
have dfts respond. Court gives Ms. Lepold until 7/1/19 for response – by oral order. US asks for ability to
supplement exhibit list and witnesses lists to address alibi raised – oral order giving US opportunity to do
so by Aug 1. US notes four dfts remaining in 4:18CR12 – reads order re Danville – US intends to move
that the 4:18CR12 be tried in Danville. Court agrees, and if it is possible to do it safely in that
courthouse, it may be done there – Court will need to address with USMS.
Court recesses for 15 mins to allow facility break. 2:41
Reconvene 2:56
Ms. Reiner addresses alibi issue. US clarifies 2 noon to 12 a.m./midnight on Aug 20, 2016. Ms. Reiner
addresses her motion for a bill of particulars.
4:18CR12-004 Montez Lamar Allen -Mr. Horn addresses alibi issues, but asks to w/d 342 motion.
Counsel passes up several court cases for courts review.
US responds to alibi issue (Huber), bill of particulars (Carlton) asking that that motion be denied.
US notes one more pending motion by Holland – Court asks Ms. Reiner to address. Ms. Reiner addresses
her motion to ext time – will not ask for continuance of evidentiary issues set for July. Court asks if any
other issues.
418CR11-008 Ashley T Ross - Mr. Grimes addresses bill of particulars re his client.
4:18CR11-001Marcus Jay Davis – Mr. Davis addresses confusion on alibi issue re time. Court will not
amend for government and if US wants to submit a new alibi notice, they can, but will not allow
amendment post hoc.

Court asks if any other issues to take up – nothing from counsel.
Court will issue opinions. Court will not issue ruling on first issue until Supreme Court issues theirs.
Substantive challenges to alibi question will be dealt with as well as the other issues discussed today.
Adjourn. 3:47
